 8:14-cr-00391-JFB-SMB             Doc # 33   Filed: 12/19/14   Page 1 of 1 - Page ID # 46




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                8:14CR391
                      Plaintiff,                )
                                                )
       vs.                                      )                 ORDER
                                                )
JESSIE SAENZ-VALDEZ,                            )
                                                )
                      Defendant.                )


       This matter is before the Court on the motion of defendant Jessie Saenz-Valdez
(Saenz-Valdez) for an extension of the pretrial motion deadline (Filing No. 30). The motion
does not comply with NECrimR 12.1 (a) and paragraph 9 of the Progression Order (Filing
No. 22) in that the motion is not accompanied by the defendant’s affidavit or declaration
stating that defendant:
       (1)    Has been advised by counsel of the reasons for seeking a continuance;
       (2)    Understands that the time sought by the extension may be excluded from any
              calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
       (3)    With this understanding and knowledge, agrees to the filing of the motion.

       Accordingly, the motion (Filing No. 30) is :
              ( X ) Held in abeyance pending compliance with NECrimR 12.1(a) and
                      Paragraph 9 of the Progression Order. Absent compliance on or
                      before December 26, 2014, the motion will be deemed withdrawn
                      and termed on the docket.
              (   )   Denied.
       IT IS SO ORDERED.


       DATED this 19th day of December, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
